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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 JUSTIN LAWRENCE, on behalf of
 himself and all others similarly situated

       Plaintiff,
 v.                                           CASE NO.: 8:21-cv-01711-KKM-JSS

 SENTRY CREDIT, INC.,

       Defendants.
                                          /

             SECOND AMENDED CLASS ACTION COMPLAINT

1.    Sentry Credit, Inc. (“Sentry”) collects illegitimate debts while concealing their

identity in gross violation of the Fair Debt Collection Practices Act, 15 U.S.C. § § 1692

et seq. (“FDCPA”) and Florida Collection Practices Act Fl Stat. 559.55 et seq.

(“FCCPA”).

2.    Congress found that “[t]here is abundant evidence of abusive, deceptive,

 and unfair debt collection practices by many debt collectors. Abusive debt collection

practices contribute to the number of personal bankruptcies, to marital instability, to

loss of jobs, and to invasions of individual privacy.” See 15 U.S.C § 1692(a). The

actions of Sentry are of a type intended to be prohibited by the FDCPA and FCCPA.

3.    Sentry deliberately violated the FDCPA so it will not be required to send out the

required letters which state the amount and nature of the debts.
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4.    Sentry’s concealment of its identity creates difficulty for consumers to know and

enforce their legal rights.1

5.    Sentry is a “debt collector” pursuant to 15 U.S.C § 1692(a)(6) and Fla. Stat

559.55 (7), as it meets the definition of “any person who uses any instrumentality of

interstate commerce or the mails in any business the principal purpose of which is the

collection of any debts, or who regularly collects or attempts to collect, directly or

indirectly, debts owed or due or asserted to be owed or due another.”

6.    Sentry manipulates the Caller ID on telephone calls they make to people.

7.    Manipulating the Caller ID on telephone calls is referred to as “spoofing.”

8.    Sentry has a business practice of spoofing their telephone numbers when calling

as a way to hide their identity. This is practice is designed to deceive recipients of

Sentry’s calls so that they are unaware Sentry is the party calling, thus precluding these

putative debtors from filing actions against Sentry.

9.    Sentry placed debt collection calls to the Plaintiff.

10.   Sentry placed spoofed debt collection calls to the Plaintiff.

11.   During the phone call that Sentry placed to the Plaintiff, Sentry did not notify

the Plaintiff that Sentry was a debt collector.



1
 As a result of Sentry’s intentional deceptions to conceal its involvement by refusing to follow
the law and disclose both its own identity and status as a debt collector, there was a substantial
delay in the Plaintiff’s discovery of Sentry’s involvement. Notably, not even the original
creditor knew that Sentry, as opposed to Smartpay, had been the collector involved in the
communications at issue here, creating an unusual situation where even the creditor was
deceived by Sentry’s unlawful conduct.

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12.   Sentry did not send a letter to the Plaintiff after an employee of Sentry spoke to

the Plaintiff.

13.   Sentry further intentionally conceals their identity by answering their phone and

otherwise identifying themselves as “central billing management.” This unlawful

practice is designed to confuse purported debtors into believing that Sentry employees

are employees of the original creditor, thus preventing the putative debtors from

availing themselves of the specific rights available to consumers when dealing with

debt collectors. It also is intended by Sentry to prevent aggrieved consumers from

bringing suit against Sentry because they will be completely unaware that Sentry is the

party that contacted them.

14.    Sentry blatantly disregards the FDCPA by deceptively calling people

throughout the country and not telling them in the initial oral communication that

they are “attempting to collect a debt and any information will be used for that

purpose. See 15 U.S.C § 1692e(11). (This section is often referred to as the “mini-

Miranda”).

15.    Sentry disregards the FDCPA by deceptively calling people throughout the

country and not telling them in subsequent communications that the communication

is from a debt collector. See 15 U.S.C § 1692e(11).

16.    Sentry disregards the FDCPA by deceptively calling people throughout the

country and then not sending them a letter about their rights concerning: the amount

of the debt, the name of the creditor, procedures for disputing the validity of the debt,

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how to verify the debt and how to obtain location information of the creditor. See 15

U.S.C § 1692g(a). (This section is often referred to as the “G-Notice”)

                                          PARTIES

17.   Plaintiff Justin Lawrence, is a natural person, a citizen of Florida and resides in

Tampa, Florida within Hillsborough County.

18.   Plaintiff brings this case on behalf of himself and all others similarly situated.

19.   Plaintiff is a “consumer” pursuant to 15 U.S.C § 1692a(3).

20.   Sentry is a “debt collector” pursuant to 15 U.S.C § 1692a(6).

21.   Sentry Credit, Inc. is located in Washington and does business throughout the

country including Florida. Sentry Credit, Inc.’s principal office is located in Everett,

Washington.

                          JURISDICTION AND VENUE

22.   Jurisdiction and venue for purposes of this action are appropriate and conferred

by 28 U.S.C. § 1331.

23.   This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2).

24.   Violations described in this Amended Complaint occurred while Plaintiff was

in Tampa, Florida.

                               FACTUAL ALLEGATIONS

25.   Sentry is a debt collector who collects money directly from consumers.




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26.    A company named Pay Ready2 receives debt collection files and then farms

these files out to Sentry.

27.    Sentry called Plaintiff approximately four times in an attempt to collect a debt.

However, in clear violation of the FDCPA, as is their customary practice, failed to

inform Plaintiff that they are a debt collector attempting to collect a debt and that any

information will be used for that purpose.

28.    Sentry also, as part of their illegal scheme, does not tell consumers in writing

the specific amount of the debt or perhaps, most importantly, their rights concerning

how to dispute and how to obtain verification of the debt. Plaintiff was sent no such

letter here.

29.    This illegal scheme of ignoring the FDCPA allows Sentry to inflict damages on

individuals that the FDCPA was enacted to curtail, specifically “personal

bankruptcies, to marital instability, to loss of jobs, and to invasion of privacy.” 15

U.S.C § 1692(a).

30.    Federal law requires a debt collector to notify a consumer in each phone call

that they are “attempting to collect a debt and any information obtained will be used

for that purpose.” See 15 U.S.C § 1692e(11). Sentry did not do that with regards to the

Plaintiff and fails to do so with all debtors as an intentional business practice.




2
 Pay Ready recently settled the claims made against them and was dismissed from this
lawsuit.
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31.   In each of these four calls to the Plaintiff, Sentry violated 15 U.S.C § 1692e(11).

Because these calls reflect the customary business practices of Sentry, there is cause to

believe a number of persons adequate to establish a class have been victims of such

violation.

32.   Sentry continues violating the FDCPA in each phone call it made to Plaintiff

and others throughout the country.

33.   When a person calls back the numbers from which Sentry calls from, the people

who answer the phone claim to be from “central billing” or “central billing

management.” They do not disclose Sentry’s true identity of that Sentry is actually a

debt collector.

34.   The damage from not knowing who is calling and for what reason is

consequential. Indeed, among the many significant rights afforded to debtors by

Federal law regarding debt collectors is an explicit right to demand cessation of

communications.

35.   Allowing people be able to see what is being collected and having the ability to

dispute this is one of the most important rights consumer have in this country who are

the subject of debt collection practices.

36.   Plaintiff experienced anxiety, frustration, worry and emotional damages

generally from not knowing who was calling and for what precise reason and for what

amount(s).




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37.    Plaintiff was concerned his credit would be ruined by the debt collectors calling

him.

38.    Sentry collected and attempted to collect “early termination fees” and

“insufficient notice fees” even though Sentry knew it had no right to collect these fees

and the purported debt was illegitimate. Specifically, these fees, which were not

provided for in the lease contracts (and certainly not specified as “fees”), were designed

to conceal an attempt to enforce an unlawful liquidated damages clause within the

paragraph 39 of the underlying lease contract.          The unlawful 120-day notice

contractual provision contained therein purported to be “in accordance with Fla. Stat.

§83.575(2)” but in fact violated subsection (1) of the very same statute that provided

that “a rental agreement may not require more than 60 days’ notice before vacating

the premises.” There was also a failure by the creditor to comply with the 15-day

requirement of advance notice to the tenant prior to the notice period as required by

§83.575(2), thus further establishing the invalidity of the debt. Notably, Sentry boasts

on its website that it has a “full-service legal department” as well as a “ever-watchful

Compliance department,” both of which would have contributed both to its

knowledge of the illegality of this debt and of the unlawful nature of its efforts to

enforce this invalid debt.

39.    Plaintiff was upset he was called by Sentry and at the time did not know what

debt collector was actually calling him.




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40.    Plaintiff was so worried about bring contacted by telephone that he hired a

lawyer and told Sentry that in a phone call.

41.    Sentry violated 15 U.S.C § 1692e(11) by failing to inform the consumer in the

initial communication that the debt collector is attempting to collect a debt and any

information will be used for that purpose and the failure to disclose in subsequent

communication that the communication is from a debt collector. This was true of the

Plaintiff and all debtors generally.

42.    Sentry violated 15 U.S.C § 1692f by using unfair or unconscionable means to

collect or attempt to collect a debt.

43.    Sentry violated 15 U.S.C § 1692g which states,

      Within five days after the initial communication with a consumer in connection
      with the collection of any debt, a debt collector shall, unless the following
      information is contained in the initial communication or the consumer has paid
      the debt, send the consumer a written notice containing –
      (1) the amount of the debt;
      (2) the name of the creditor to whom the debt is owed;
      (3) a statement that unless the consumer, within thirty days after receipt of the
      notice, disputes the validity of the debt, or any portion thereof, the debt will be
      assumed to be valid by the debt collector;
      (4) a statement that if the consumer notifies the debt collector in writing within
      the thirty-day period that the debt, or any portion thereof, is disputed, the debt
      collector will obtain verification of the debt or a copy of a judgment against the
      consumer and a copy of such verification or judgment will be mailed to the
      consumer by the debt collector; and
      (5) a statement that, upon the consumer’s written request within the thirty-day
      period, the debt collector will provide the consumer with the name and address
      of the original creditor, if different from the current creditor.




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44.    Sentry never sent such a letter to the Plaintiff despite speaking with him. The

failure to adhere to this legal requirement was intentional and in furtherance of

Sentry’s efforts to conceal both its identity and that it was a debt collector in an effort

to preclude suit from being brought against it for its unlawful conduct.

45.    Sentry willfully engaged in other conduct which can be reasonably expected to

abuse or harass the debtor or any member of her or his family in violation of Section

559.27(7). This included, but was not limited to, concealment of its identity and actual

relationship to the creditor.

46.    Sentry claimed or attempted or threatened to enforce a debt when such person

knows that the debt is not legitimate in violation of Section 559.72(9).

47.    Abusive debt collection practices such as not providing consumers the “G-

Notice” contribute to the number of personal bankruptcies, to marital instability, to

loss of jobs and invasions of privacy. See 15 U.S.C § 1692.

48.    The damage caused by failing to provide this required initial communication is

monumental to Plaintiff and each person throughout the country who is victim of this

deception.

49.    Plaintiff suffered concrete damages as a result of Sentry’s deception and refusal

to follow the FDCPA and FCCPA.

50.    Sentry recorded at least one conversation with the Plaintiff.

51.    Sentry records all of their conversation with consumers.



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 52.    Sentry’s aggravating and annoying phone calls trespassed upon and interfered

 with Plaintiff’s rights and interests in his cellular telephone and cellular telephone line,

 by intruding upon Plaintiff’s seclusion.

 53.    Defendants violated the FDCPA with respect to the Plaintiff.

 54.    Sentry directed Plaintiff to Pay Ready’s platform to view his invoices and pay.

 This conduct was further designed to conceal the involvement of Sentry so as to

 prevent suit from being brought against it.

                                    CLASS ALLEGATIONS

 55.    Plaintiff brings this action as a class action under Federal Rule of Civil

 Procedure 23(a), (b)(2), (b)(3) as a representative of the following Classes:



            I.    All people who were called by Sentry and within five days after that
                  initial communication, did not send the consumer a written notice
                  containing – (1) the amount of the debt; (2) the name of the creditor to
                  whom the debt is owed; (3) a statement that unless the consumer,
                  within thirty days after receipt of the notice, disputes the validity of the
                  debt, or any portion thereof, the debt will be assumed to be valid by
                  the debt collector; (4) a statement that if the consumer notifies the debt
                  collector in writing within the thirty-day period that the debt, or any
                  portion thereof, is disputed, the debt collector will obtain verification
                  of the debt or a copy of a judgment against the consumer and a copy
                  of such verification or judgment will be mailed to the consumer by the
                  debt collector; and (5) a statement that, upon the consumer’s written
                  request within the thirty-day period, the debt collector will provide the
                  consumer with the name and address of the original creditor, if
                  different from the current creditor.

            II.   All people who Sentry called and in that initial communication were
                  not told that they were attempting to collect a debt and any
                  information obtained will be for that purpose.
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           III.   All people who Sentry called, more than once, and failed to tell them
                  the communication is from a debt collector.

           IV.    All people in Florida that Sentry attempted to collect an early
                  termination fee or insufficient notice fee from.

 56.   Plaintiff reserves the right to amend or modify the Class definition with greater

 specificity or further division into subclasses or limitation to particular issues, as

 discovery and the orders of this Court warrant.

 57.   Excluded from the Class are the Defendants’ officers and directors of the

 Defendants at all relevant times, members of Defendant’s immediate families and their

 legal representatives, heirs, successors or assigns, and any entity in which Defendants

 have or had a controlling interest.

 58.   Plaintiff is a member of the Class he seeks to represent.

 59.   Defendants sought to collect room, rent and illegal fees from students while

 schools were closed, and students ordered to return home and in doing so failed to

 adhere to 15 U.S.C § 1692(e)11 and 15 U.S.C § 1692(g). Accordingly, members of the

 Class are so numerous that their individual joinder herein is impracticable. The precise

 number of Class members and their identities are unknown to Plaintiff at this time but

 may be determined through discovery. Class members may be notified of the pendency

 of this action by mail and/or publication through the distribution records of

 Defendant.



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 60.    Common questions of law and fact exist as to all Class members and

 predominate over questions affecting only individual Class members. Common legal

 and factual questions include, but are not limited to, whether Defendant failed to

 advise class members that Defendant was a debt collector calling to collect a debt and

 all information would be used for that purpose, as well as forwarding the proper g-

 notice following the initial communication.

 61.    The claims of the named Plaintiff are typical of the claims of the Class in that

 Defendants sought to collect a debt without adhering to 15 U.S.C § 1692(e)11 and 15

 U.S.C § 1692(g).

 62.    Plaintiff is an adequate representative of the Class because Plaintiff’s interest

 does not conflict with the interests of the Class members Plaintiff seeks to represent,

 Plaintiff has retained competent counsel experienced in prosecuting class actions, and

 Plaintiff intends to prosecute this action vigorously. The interests of Class members

 will be fairly and adequately protected by Plaintiff and his counsel.

 63.    The class mechanism is superior to other available means for the fair and

 efficient adjudication of the claims of the Class members. Each individual Class

 member may lack the resources to undergo the burden and expense of individual

 prosecution of the complex and extensive litigation necessary to establish Defendants’

 liability. Individualized litigation increases the delay and expense to all parties and

 multiplies the burden on the judicial system presented by the complex legal and factual

 issues of this case. Individualized litigation also presents a potential for inconsistent or

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 contradictory judgments. In contrast, the class action device presents far fewer

 management difficulties and provides the benefits of single adjudication, economy of

 scale, and comprehensive supervision by a single court on the issue of Defendants’

 liability. Class treatment of the liability issues will ensure that all claims and claimants

 are before this Court for consistent adjudication.


                                           COUNT I
                         (Violation of the FDCPA as to Sentry)

 89.    At all times relevant to this action, Defendant is subject to and must abide by

 15 U.S.C. § 1692 et seq.

 90.    Defendant engaged in any conduct the natural consequence is to harass in

 violation of 15 U.S.C. § 1692(d).

 91.    Defendant engaged in any false, deceptive, or misleading representation or

 means in connection with the collection of any debt in violation of 15 U.S.C. § 1692(e).

 92.    Defendant engaged in an act or omission prohibited under 15 U.S.C. §

 1692(e)(11) by failing to disclose in the initial written communication with the

 consumer, and in addition, if the initial communication with the consumer is oral, in

 that initial oral communication, that the debt collector is attempting to collect a debt

 and that any information obtained will be used for that purpose, and the failure to

 disclose is subsequent communications that the communication is from a debt

 collector.




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 93.    Defendant engaged in unfair and unconscionable conduct in violation of 15

 U.S.C. § 1692(f).

 94.    Defendant did not send the written notice described in 15 U.S.C. § 1692(g) to

 putative class members within five days after the initial communication.3

                                           COUNT II
                           (Violation of the FCCPA as to Sentry)

 93.       At all times relevant to this action, Defendant is subject to and must abide by

 Florida Collection Practices Act Fl Stat. 559.55 et seq. (“FCCPA”).

 94.    Defendant willfully communicated with the debtor or any member of her or his

 family with such frequency as can reasonably be expected to harass the debtor or her

 or his family, or willfully engaged in other conduct which can be reasonably expected

 to abuse or harass the debtor or any member of her or his family in violation of Section




 3
  Sentry in its Motion to Dismiss (Doc. 42) has asserted that the Plaintiff’s cause of action is
 barred by the FDCPA’s statute of limitation. That is not correct. As a preliminary matter,
 there was active and deliberate concealment by Sentry of its involvement in this debt
 collection, with its practice of claiming to be “central billing” during telephone calls being
 specifically designed to deceive the consumer as to the identity of the caller. Other unlawful
 practices by Sentry, including its telephone number “spoofing” and its failure to send a 15
 U.S.C § 1692(g) letter, caused the Plaintiff to be entirely unaware that it was Sentry that had
 communicated with the Plaintiff, thus making a suit against Sentry impossible. It was only
 the Plaintiff’s significant and diligent discovery in the action against PayReady which
 revealed Sentry’s involvement, after which the Plaintiff promptly added Sentry as a defendant
 in this action. These are clearly “sufficiently inequitable circumstances” to warrant equitable
 tolling if such is even established to be necessary. Additionally, Sentry relies upon the notion
 that the statute of limitations flows from the first call, whereas a course of conduct of making
 multiple calls would establish the limitations date as at the time of or following its last call or
 attempted communication.


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 559.27(7).   This conduct included, but is not limited to, active concealment and

 deception as to Sentry’s identity and status as a debt collector.

 95.   Defendant claimed or attempted or threatened to enforce a debt when such

 person knows that the debt is not legitimate or asserted the existence of some other

 legal right when such person knows that the right does not exist, in violation of Section

 559.72(9). This includes, but is not limited to, the knowing efforts at collection of the

 unlawful liquidated damages concealed as “early termination fees” and “insufficient

 notice fees” as described above.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against for statutory damages, punitive damages, actual

 damages, costs, interest, attorney fees, injunctive relief and any other such relief this

 Honorable Court may deem just and proper.



                                          Respectfully submitted,

                                          /s/ Billy Howard
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